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                                                    COURT M INUTES

          U.S.M AG ISTRATE JUDG E LURANA S.SNOW -FO RT LAUDERDALE,FLO RIDA

DEFT: CARLOSCONTRERAS (J)#                                          CASE NO:      Iq 4 0:tI-ag?:'aJ:J#o:k<
AUSA: YeneyHernandez                        x                       ATTY:         Fred Moldovan .                     '
                                                                                        (Ifapplicabe-appealscolloquy)
AGENT:                                                              V1OL:
PROCEED ING:                  NRRAIGN M EN T                        RECOM M EN DED BOND :
BOND HEARING HELD -yes/no                                COUN SEL A PPOIN TED :

BOND SET @:                                                         Tobecosignedby:

Q       Donotviolate any law.

Q       Appearin courtasdirected.
                                                                                        .- .
Q       Surrenderand/ordo notobtain passports/travel                                         !ng cf 2ao'fatn.    )t
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Q       Rptto PTS asdirected/or            x'saweek/month by                          Gtarldj
                                                                                            -llg r,i     v
        phone;              x'saweek/month in person.                                            *isccve-
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                                                                                                         .,or-
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                                                                                                               bv rqQ
                                                                                                                            aesterl
Q       Random urinetesting byPretrialServices.
        Treatmentasdeemed necessary.

Q       M aintain orseek full-timeemployment.

Q       No contactwith victims/witnesses.

Q       No tireanns.

Q       Curfew: .                                           .




Q       Travelextendedto:                                   .


Q       Halfway House                                       .


NEXTCOURT APPEAM NCE:                   DATE:                       TIM E:                  JUDGE:                        PLACE:

INQUIRY RECOUNSEL'
                 .
PTD/BOND HEARING:
PRELIM /ARRAIGN.OR REM OVAL:

CHECK IF                    ForthereasonsstatedbycounselfortheDefendantandtindingthattheendsofjusticeselwedbygrantingtheore
APPLICABLE              : tenusmotion forcontinuanceto hirecounseloutweigh thebestinterestsofthepublic & the Defendantina Speedy
                          Trial,theCourtfindsthattheperiod oftimefrom today,through and including                .shallbedeemed
                          excludablein actordance with theprovisionsofthe Speedy TrialAct,18 USC 3161etseq..                ,

DATE:      12-9-19      TIME:       11:00am       DAR:      - 4 : ,--
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